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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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  UNITED STATES OF AMERICA

                                                                        MEMORANDUM & ORDER
                  -against-
                                                                          04-CR-01016 (NGG)
     JAMAL BROWN,
                                    Defendant.

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NICHOLAS G. GARAUFIS, United States District Judge.

         Defendant Jamal Brown, currently serving a 12-year prison term, moves for a sentence

reduction pursuant to 18 U.S.C. § 3582(c)(2). (Def. Mot. for Retroactive Appl. of Sentencing

Guidelines ("Def. Mot.") (Dkt. 564).) The question before the court is whether Defendant is

eligible for a reduced sentence in light of the fact that he was sentenced to a term of

imprisonment pursuant to a Federal Rule of Criminal Procedure l l(c)(l)(C) plea agreement. For

the reasons discussed below, the court concludes that Defendant is not eligible for a sentence

reduction pursuant to 18 U.S.C. § 3582(c)(2), and therefore his motion is DENIED.

I.       BACKGROUND

         On August 2, 2006, in proceedings before this court, Defendant pleaded guilty to one

count of racketeering, in violation of 18 U.S.C. §§ 1962(c) and 1963, and one count of

conspiracy to distribute and possess with intent to distribute cocaine base, in violation of 21

U.S.C. §§ 846 and 84l(b)(l)(A). (See J. (Dkt. 140).) The court sentenced Defendant to 144

months imprisonment pursuant to a Federal Rule of Criminal Procedure 11 (c)(l)(C) plea

agreement. (Aug. 2, 2006, Sentencing Tr. (Dkt. 200).)




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       On February 11, 2008, the court ordered the Government to show cause why the court

should not file an amended judgment reducing Defendant's term of imprisonment pursuant to 18

U.S.C. § 3582(c)(2) and U.S.S.G. § lBl.10 (as amended effective March 3, 2008). (See Feb. 11,

2008, Order (Dkt. 482).) On July 3, 2008, the Government responded, arguing that Defendant

was not eligible for a resentencing because his sentence did not rely upon the applicable

Guidelines sentencing range, since the court relied only on the 12-year term of imprisonment

contemplated in his Rule 1 l(c)(l)(C) plea agreement. (See July 3, 2008, Response (Dkt. 485).)

On July 15, 2008, the court denied a sentence reduction. (See July 15, 2008, Order (Dkt. 486).)

       On October 16, 2008, Defendant filed a motion for reconsideration of that Order. (Mot.

for Recons. (Dkt. 488).) On October 27, 2008, the court denied the motion for reconsideration,

citing the Government's original response to the order to show cause, which stated that "[a]

motion for reduction of sentence under 3582(c)(2), based on a retroactive Guideline amendment,

is irrelevant where the defendant has entered and been sentenced pursuant to such a [Federal

Rule of Criminal Procedure l l(c)(l)(C)] plea." (See Oct. 27, 2008, Order (Dkt. 489).)

       On November 14, 2011, after Congress passed the Fair Sentencing Act of 2010, Pub. L.

No. 111-222, 124 Stat. 2372 (2010), Defendant once again moved for a reduction in sentence

pursuant to 18 U.S.C. § 3582(c)(2), relying on the Act's amendments to the sentencing

Guidelines concerning crack-cocaine. (Def. Mot.) On April 19, 2012, Defendant filed a motion

for preliminary screening of his 18 U.S.C. § 3582(c)(2) motion. (See Def. Mot. for Prelim.

Screening of 3582 Mot. (Dkt. 686).)

       The court ordered the Government to respond to Defendant's motions because of the

possibility that Defendant was entitled to resentencing in light of the changes to the Guidelines

and the Supreme Court's decision in Freeman v. United States, 131 S. Ct. 2685 (2011), which



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held that defendants who enter Rule l l(c)(l)(C) plea agreements expressly based upon

subsequently-amended Guidelines may be eligible for resentencing. (See Nov. 19, 2013, Order

(Dkt. 1478) at 2.) On January 28, 2014, the Government responded, opposing Defendant's

motion. (See Gov't Mem. in Opp'n (Dkt. 1481).) The Government maintains that Defendant is

ineligible for a reduction because the court relied solely upon the plea agreement in sentencing

Defendant and not upon the Guidelines. (IQJ

II.    DISCUSSION

       The Supreme Court has established a two-step inquiry to guide district courts in their

consideration of 18 U.S.C. § 3582(c)(2) motions. See Dillon v. United States, 560 U.S. 817, 825

(2010); see also United States v. Christie, 736 F.3d 191, 194-95 (2d Cir. 2013). First, the district

court must determine whether a defendant is "eligible for a reduction in sentence." Id. (emphasis

in original) (quoting United States v. Mock, 612 F.3d 133, 137 (2d Cir. 2010)) (internal

quotation marks omitted). To be eligible, a defendant must have been "sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(0)." 18 U.S.C. § 3582(c)(2) (emphasis added). Second,

if a defendant is eligible for resentencing, the court will then consider whether any reduction is

warranted. Id.

       In Freeman, the Supreme Court resolved a circuit split over "whether defendants who

enter into 1 l(c)(l)(C) agreements that specify a particular sentence may be said to have been

sentenced 'based on' a Guidelines sentencing range, making them eligible for relief under

§ 3582(c)(2)." 131 S. Ct. at 2691. Freeman held that a defendant whose sentence was imposed

pursuant to a Rule l l(c)(l)(C) plea agreement is eligible for a reduction if the plea "agreement

expressly use[d] a Guidelines sentencing range applicable to the charged offense to establish the



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term of imprisonment, and that range is subsequently lowered by the [Sentencing Commission]."

Id. at 2695 (Sotomayor, J., concurring).

       In Freeman, the defendant pleaded guilty pursuant to a Rule 1 l(c)(l)(C) agreement to

various crimes, including possession with intent to distribute cocaine base. Id. at 2691. The

government agreed that a sentence of 106 months' incarceration was ''the appropriate disposition

of the case." Id. The plea agreement explicitly stated that both parties reviewed the Guidelines,

and that the defendant agreed to have his sentence determined pursuant to the Guidelines. Id.

Because the district court sentenced the defendant pursuant to a Rule l l(c)(l)(C) plea agreement

that was expressly based on the Guidelines, the Freeman court concluded that the defendant was

eligible for a reduction under 18 U.S.C. § 3582(c)(2). Id. at 2700.

       As the Government correctly argues, such circumstances are not present in this case.

Although the court referred to the subsequently-amended Guideline range briefly during

Defendant's sentencing, it did not base the 12-year sentence on the applicable Guidelines

sentencing range. (See Aug. 2, 2006, Sentencing Tr. at 6.) At Defendant's sentencing hearing,

the court stated that the parties "agreed to the imposition of a specific sentence ... as [the]

appropriate disposition of the case. The court accepts that agreement and will sentence the

defendant pursuant to Rule l l(c)(l)(C) to the 12 years." (I.QJ The court focused solely on the

plea agreement between the parties and the reasonableness of the specific sentence included in

that agreement-not on the Guidelines sentencing range. (Id. at 9.)

       Furthermore, the plea agreement itself did not expressly rely upon the Guidelines. (See

Dec. 1, 2005, Plea Agreement~ 1.) Rather, the agreement provided that "the [U.S. Attorney's]

Office and the defendant agree that a specific sentence of 12 years' imprisonment and five years'

supervised release is the appropriate disposition of the case." (MJ The specific sentence in the



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agreement was below the applicable Guidelines sentencing range, which was 151 to 188 months

based on Defendant's total offense level and criminal history category. (See Aug. 2, 2006,

Sentencing Tr. at 6.)

       In sum, Defendant's sentence was based solely on his plea agreement with the

Government, and the Guidelines were not "expressly used" for calculating the specific sentence

in the plea agreement. Thus, under the Supreme Court's holding in Freeman, because

Defendant's sentence was not "based on" the applicable Guidelines he is ineligible for a sentence

reduction under 18 U.S.C. § 3582(c)(2).

III.   CONCLUSION

       For the reasons set forth above, Defendant is not eligible for a sentence reduction under

18 U.S.C. § 3582(c)(2). The court, therefore, will not consider whether a reduction is warranted.

See Dillon, 560 U.S. at 826. Defendant's motion for a reduced sentence pursuant to 18 U.S.C.

§ 3582(c)(2) is DENIED.

       SO ORDERED.
                                                                     s/Nicholas G. Garaufis
Dated: Brooklyn, New York                                           l)'iEHoiAs=-o.oA'iAUF1il - .
       June _l!, 2014                                               United States District Judge




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